
*590OPINION.
Marquette :
The petitioner contends that having on June 13, 1921, filed a return for the fiscal year ended March 31, 1921, under the Revenue Act of 1918, which correctly set forth all of its income, invested capital and deductions claimed, with full and complete information relative thereto, it was not required to file a second return under the Revenue Act of 1921, and that assessment and collection of the deficiency herein are barred. It also contends that the deduction of $4,236.98 taken on its return on account of repairs made to the trestle, coal bins, and driveway are proper and should be allowed.
Upon consideration of the evidence presented, we are of the opinion that the petitioner expended during the fiscal year under consideration the amount of $4,236.98 in making repairs to the trestle, coal bins, and driveway. This expenditure was not for new assets or the replacement of old ones, but was merely for the purpose of keeping the property in an efficient operating condition, and it constituted, in our opinion, an ordinary and necessary business expense which the petitioner is entitled to deduct in computing its net income. With this adjustment in the petitioner’s income there will be no deficiency in tax for the fiscal year ended March 31, 1921, and it is therefore not necessary for us to pass on the other question presented.

Judgment will be entered for the 'petitioner.

